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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

 

MIDLAND-ODESSA DIVISION ChEoK hee,

P.V. PATEL, M.D.; P.V. PATEL, M.D.,
a Professional Association; THE HEART
CARDIOVASCULAR & INTERNAL
MEDICINE, a Professional Association;
and ECHO LAB, INC.

Plaintiffs

Yv.

MIDLAND MEMORIAL HOSPITAL;
MEMORIAL HEART & VASCULAR
INSTITUTE; PERMIAN CARDIOLOGY
GROUP; STEPHEN BROWN, M.D.;
MICHAEL MILLER, M.D.; JAMES H.
BARNETT, M.D.; JOHN FOSTER, JR., M.D.;
JAY MENDEZ, M.D.; DONALD LOVEMAN,
M.D. AND HAROLD RUBIN
COUNTRY FOOD STORES

Defendants

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: Petcy COURT
RET OF TEXAS

MO-99-CA-159

ORDER DENYING ORIGINAL MOTION TO DISMISS AS MOOT

BEFORE THE COURT are Defendant Foster's Motion to Dismiss Plaintiff's First Amended

Complaint and Supporting Brief filed March 8, 2000 and Defendant Foster's Motion to Dismiss Plaintiff's

First Amended Complaint and Supporting Brief filed March 9, 2000. Although both motions have the same

title, itis evident from the footer that Defendant Foster's March 9, 2000 motion is intended to be an amended

motion to dismiss. To avoid confusion on the Court's docket, and because Defendant Foster's amended

motion essentially nullifies his original motion, the Court elects at this time to deny the original motion as

moot. Accordingly,

IT IS ORDERED that Defendant Foster's Motion to Dismiss Plaintiff's First Amended Complaint

and Supporting Brief filed March 8, 2000 is hereby DENIED AS MOOT.
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Defendant Foster's Motion to Dismiss Plaintiff's First Amended Complaint and Supporting Brief
filed March 9, 2000 shall remain a live motion on the Court's docket.

SIGNED this JO day of March, 2000.

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ALUCIUS D. BUNTON, III
SENIOR UNITED STATES DISTRICT JUDGE

 
